
PER CURIAM.
Defendant seeks reversal of an order denying his motion for post-conviction relief contending that the Gort Act violated the single-subject rule. We reverse. Defendant was sentenced pursuant to the Gort Act; he committed the offenses on July 12, 1996. The state properly concedes that defendant is entitled to be re-sentenced as the supreme court has held that the Gort Act as originally enacted is unconstitutional. See State v. Thompson, 750 So.2d 643 (Fla.1999); Lee v. State, 739 So.2d 1175 (Fla. 3d DCA 1999). Accordingly, we vacate defendant’s sentence and remand the cause for resentencing.
Reversed and remanded.
